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         In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * ** *
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  ARNOLD K. GRAHAM,                   *
                  Plaintiff,          *
                                      *
           v.                           Nos. 15-1253; 15-12534L
                                      *
                                        Filed: September 28, 2018
                                      *
  UNITED STATES,                      *
                  Defendant.          *
                                      *
   * * * * * * * * * * * * * * * * ** *
                                  ORDER

        The court is in receipt of the parties’ joint stipulation to dismiss certain above-
captioned plaintiff’s claims in the case of Flying S. Land Co., et al. v. United States, Case
No. 15-1253L. The claims associated with the above-captioned plaintiffs are, hereby,
SEVERED from the case of Flying S. Land Co., et al. v. United States, Case No. 15-
1253L, and shall be reorganized, for case management purposes, into the above-
captioned case, Arnold K. Graham v. United States, and assigned Case No. 15-12534L.
The court DISMISSES WITHOUT PREJUDICE the property claims of Arnold K. Graham.
As there is no just reason for delay, the Clerk’s Office shall enter immediate JUDGMENT
consistent with this Order, pursuant to RCFC 54(b). As the Order disposes of all
properties of the named plaintiff, Case No. 15-12534L shall be CLOSED. Neither the
dismissal of the claims of the plaintiff herein nor the entry of judgment by the Clerk’s Office
shall affect this court’s jurisdiction over the remaining plaintiffs and properties in the case
of Flying S. Land Co., et al. v. United States, Case No. 15-1253L.


       IT IS SO ORDERED.
                                                        s/Marian Blank Horn
                                                        MARIAN BLANK HORN
                                                                 Judge
